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   United States of America
 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:09-Cr.-0161 WBS
12                                  Plaintiff,           GOVERNMENT’S MOTION TO
                                                         DISMISS INDICTMENT AS TO
13   v.                                                  TOBBIYON JERMAINE SIMON
14   TOBBIYON JERMAINE SIMON, et al.,
15                                  Defendants.
16

17          Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the United States
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     respectfully moves this court for an order dismissing the indictment, filed on April 9, 2009, as to
19
     Tobbiyon Jermaine Simon. The government has received a certified copy of the death certificate of
20
     defendant Tobbiyon Jermaine Simon indicating that the defendant died on May 24, 2013.
21

22 Accordingly, the government moves to dismiss all charges against Tobbiyon Jermaine Simon in the

23 pending Indictment.

24 DATED:           July 10, 2013
25                                           BENJAMIN B. WAGNER
                                             United States Attorney
26

27                                           /s/ Lee S. Bickley___________________
                                             LEE S. BICKLEY
28                                           Assistant United States Attorney
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             Case 2:09-cr-00161-WBS Document 55 Filed 07/12/13 Page 2 of 2



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 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                               EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                       CASE NO. 2:09-Cr.-0161 WBS
10
                                Plaintiff,           ORDER DISMISSING INDICTMENT
11                                                   AS TO TOBBIYON JERMAINE
     v.                                              SIMON
12
     TOBBIYON JERMAINE SIMON, et al.,
13
                                Defendants.
14

15
           Based on the government’s motion to dismiss the indictment, and GOOD CAUSE
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17 APPEARING THEREFORE, the Court hereby orders that all charges against TOBBIYON

18 JERMAINE SIMON in the pending indictment filed on April 9, 2009, be hereby DISMISSED.

19 Dated: July 12, 2013
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